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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION

In re:     Sims, Lakesha S                                    §               Case No. 10 B 06963
                                                              §
           Debtor                                             §
                                                              §



            CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

         Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account of the
         administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

                    1) The case was filed on 02/22/2010.


                    2) The plan was confirmed on 04/15/2010.


                    3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329
         on (NA).

                   4) The trustee filed action to remedy default by the debtor in performance under the
         plan on 03/17/2011, 10/20/2011, 06/10/2010 and 08/19/2010.

                    5) The case was dismissed on 10/20/2011.


                    6)   Number of months from filing or conversion to last payment: 16.


                    7)   Number of months case was pending: 25.


                    8) Total value of assets abandoned by court order: (NA).


                    9) Total value of assets exempted: $5,300.00.


                    10) Amount of unsecured claims discharged without full payment: $0.


                    11) All checks distributed by the trustee relating to this case have cleared the bank.

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    Receip ts:
                    Total paid by or on behalf of the debtor                          $3,223.00
                    Less amount refunded to debtor                                           $0

    NET RECEIPTS:                                                                                                   $3,223.00



    Ex p enses of Administration:
                    Attorney's Fees Paid Through the Plan                             $2,489.00
                    Court Costs                                                              $0
                    Trustee Expenses & Compensation                                    $152.68
                    Other                                                                    $0

    TOTAL EX PENSES OF ADMINISTRATION:                                                                              $2,641.68

    Attorney fees paid and disclosed by debtor:                   $375.00



    Sch edul ed Creditors:
    Creditor                                            Claim           Claim               Claim      Principal           Int.
    Name                               Class          Scheduled        Asserted            Allowed       Paid              Paid
    Account Recovery Service           Unsecured         $786.00               NA                 NA           $0                 $0
    AFNI                               Unsecured         $310.00               NA                 NA           $0                 $0
    City Of Chicago Dept Of Revenue    Unsecured       $4,000.00        $3,916.20          $3,916.20      $347.32                 $0
    Dependon Collection Service        Unsecured         $250.00               NA                 NA           $0                 $0
    Dependon Collection Service        Unsecured         $250.00               NA                 NA           $0                 $0
    I C Systems Inc                    Unsecured         $668.00               NA                 NA           $0                 $0
    Nicor Gas                          Unsecured         $103.00               NA                 NA           $0                 $0
    Premier Bankcard                   Unsecured         $445.00            $445.83          $445.83       $39.50                 $0
    Receivables Management Inc         Unsecured         $250.00            $250.00          $250.00       $22.17                 $0
    Sallie Mae                         Unsecured       $1,892.00        $1,943.18          $1,943.18      $172.33                 $0
    TCF Bank                           Unsecured              $0               NA                 NA           $0                 $0
    Torres Credit                      Unsecured       $1,081.00               NA                 NA           $0                 $0




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    Summary of Disbursements to Creditors:
                                                                 Claim              Principal           Interest
                                                                Allowed               Paid                Paid
    Secured Payments:
           Mortgage Ongoing                                               $0               $0                      $0
           Mortgage Arrearage                                             $0               $0                      $0
           Debt Secured by Vehicle                                        $0               $0                      $0
           All Other Secured                                              $0               $0                      $0
    TOTAL SECURED:                                                        $0               $0                      $0

    Priority Unsecured Payments:
           Domestic Support Arrearage                                     $0               $0                      $0
           Domestic Support Ongoing                                       $0               $0                      $0
           All Other Priority                                             $0               $0                      $0
    TOTAL PRIORITY:                                                       $0               $0                      $0

    GENERAL UNSECURED PAYMENTS:                                  $6,555.21           $581.32                       $0



    Disbursements:
                Expenses of Administration                            $2,641.68
                Disbursements to Creditors                                $581.32

    TOTAL DISBURSEMENTS:                                                                               $3,223.00




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                12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
      estate has been fully administered, the foregoing summary is true and complete, and all administrative
      matters for which the trustee is responsible have been completed. The trustee requests a final decree
      be entered that discharges the trustee and grants such other relief as may be just and proper.



      Date: March 30, 2012                    By: /s/ MARILYN O. MARSHALL
                                                                    Trustee


       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
       Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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